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                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA
____________________________________

JOSE RAPALO,                                  :
          Petitioner,                         :
                                              :              No. 5:15-cr-00592-6
               v.                             :              No. 5:20-cv-02940
                                              :
UNITED STATES OF AMERICA,                     :
            Respondent.                       :
____________________________________

                                     OPINION
            Motion to Vacate Sentence, 28 U.S.C. § 2255, ECF No. 320 – Denied


Joseph F. Leeson, Jr.                                                           March 14, 2025
United States District Judge

       Petitioner Jose Rapalo pled guilty to charges including using and carrying a firearm

during a crime of violence in violation of 18 U.S.C. § 924(c), arising from a Hobbs Act robbery.

He filed a counseled Motion to Vacate Sentence pursuant to 28 U.S.C. § 2255 seeking relief

pursuant to Davis, which held that § 924(c)(3)(B), the “residual clause,” is unconstitutionally

vague. Because Rapalo’s § 924(c) conviction(s) was based on a completed Hobbs Act robbery,

which is categorically a crime of violence under § 924(c)(3)(A), the “elements clause,” the

Motion to Vacate is denied.

I.     STANDARD OF REVIEW

       Motions filed under 28 U.S.C. § 2255 are the presumptive means by which federal

defendants can challenge their convictions or sentences that are allegedly in violation of the

Constitution or laws of the United States or are otherwise subject to collateral attack. Davis v.

United States, 417 U.S. 333, 343 (1974); O’Kereke v. United States, 307 F.3d 117, 122-23 (3d

Cir. 2002). Section 2255 “states four grounds upon which such relief may be claimed: (1) ‘that

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the sentence was imposed in violation of the Constitution or laws of the United States;’ (2) ‘that

the court was without jurisdiction to impose such sentence;’ (3) ‘that the sentence was in excess

of the maximum authorized by law;’ and (4) that the sentence ‘is otherwise subject to collateral

attack.’” Hill v. United States, 368 U.S. 424, 426-27 (1962) (quoting 28 U.S.C. § 2255(a)).

II.    BACKGROUND

       Jose Rapalo pled guilty to numerous offenses arising from his participation in a string of

armed robberies of businesses in Allentown, Pennsylvania, including using and carrying a

firearm during a crime of violence in violation of 18 U.S.C. §§ 924(c)(1). 1 During the robberies,

Rapalo remained in the car as the getaway driver while his co-defendants entered the stores

armed with firearms, which Rapalo knew. See Presentence Report. In each robbery, one or

more of his co-defendants pointed a firearm(s) at a store employee and/or at a customer. See id.

The co-defendants stole cash and other items, which they and Rapalo split among themselves.

See id. Rapalo was sentenced pursuant to the enhanced penalties under § 924(c). 2

       Rapalo filed a Motion to Vacate sentence pursuant to 28 U.S.C. § 2255, asserting that his

§ 924(c) conviction(s) are unconstitutional pursuant to Davis. See Mot. ECF No. 320. He

acknowledges that the “predicate for the 924(c) conviction(s) is Hobbs Act robbery.” See id. at

6. Although the motion was filed more than a year after his conviction became final, the motion

was timely filed within one year of the decision in Davis and is therefore timely. See 28 U.S.C.

§ 2255(f)(3). A decision on the Motion was stayed pending litigation in the Third Circuit Court

of Appeals as to whether Hobbs Act robbery qualifies as a predicate offense under the elements

clause of § 924(c). See ECF No. 323.


1
     The specific charges to which Rapalo pled are sealed and will not be listed herein. See
ECF No. 230.
2
     Rapalo’s sentence was sealed and will not be included herein. See ECF No. 230.
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       In the cases for Rapalo’s codefendants, counsel thereafter filed a Motion to Lift Stay and

Notice of Authority stating that in United States v. Stoney, 62 F.4th 108, 112-13 (3d Cir. 2023),

the Third Circuit Court of Appeals held that a completed Hobbs Act robbery has an element of

force and thereby qualifies as a “crime of violence” under § 924(c), which governs the § 2255

motion. See ECF Nos. 383-386. Although counsel did not file such Motion/Notice for Rapalo, it

appears this was an oversight because the grounds for the Motions to Vacate were identical and

one Motion/Notice was filed twice for the same co-defendant. See ECF Nos. 385-386.

Regardless, the Government has filed a Response in Opposition to the Motion to Vacate stating

that the matter is ripe for disposition and that Stoney forecloses relief for Rapalo. See ECF No.

394.

III.   ANALYSIS

       Section 924(c) provides for enhanced penalties for anyone who uses a firearm “during

and in relation to any crime of violence or drug trafficking crime.” See 18 U.S.C. §

924(c)(1)(A). “Section 924(c) requires the government to prove that the person committed a

qualifying predicate crime of violence.” Stoney, 62 F.4th at 110-11. However, “it is not

necessary that the defendant be separately charged with or convicted of such an offense.” United

States v. Lake, 150 F.3d 269, 275 (3d Cir. 1998). The statute defines “crime of violence” as:

       an offense that is a felony and—
       (A) has as an element the use, attempted use, or threatened use of physical force
       against the person or property of another, or
       (B) that by its nature, involves a substantial risk that physical force against the
       person or property of another may be used in the course of committing the offense.

18 U.S.C. § 924(c)(3). Subsection A is known as the “elements clause” and subsection B is

known as the “residual clause.” The Supreme Court in Davis held that the “residual clause” is

unconstitutionally vague.

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        Davis does not afford Rapalo any relief in the above-captioned action because his

commission of a completed Hobbs Act robbery satisfies the “elements clause” of § 924. See

Stoney, 62 F.4th at 112 (finding that the defendant, who used a loaded gun during a holdup while

he and his codefendants stole more than $8,000 from a restaurant was a “completed Hobbs Act

robbery” that “has as an element the . . . use of physical force against the person . . . of another”

(quoting 18 U.S.C. § 924(c)(3)(A))). The Motion to Vacate is therefore denied.

IV.     CONCLUSION

        Rapalo is not entitled to relief under Davis because he committed a completed Hobbs Act

robbery, which served as a predicate crime of violence for his conviction(s) under § 924(c). The

Motion to Vacate pursuant to 28 U.S.C. § 2255 is denied and there is no basis for the issuance of

a certificate of appealability. 3

        A separate Order follows.


                                                       BY THE COURT:


                                                       /s/ Joseph F. Leeson, Jr.
                                                       JOSEPH F. LEESON, JR.
                                                       United States District Judge



3
        “Under the Antiterrorism and Effective Death Penalty Act of 1996 (‘AEDPA’), a ‘circuit
justice or judge’ may issue a COA [certificate of appealability] only if the petitioner ‘has made a
substantial showing of the denial of a constitutional right.’” Tomlin v. Britton, 448 F. App’x
224, 227 (3d Cir. 2011) (citing 28 U.S.C. § 2253(c)). “Where a district court has rejected the
constitutional claims on the merits, . . . the petitioner must demonstrate that reasonable jurists
would find the district court’s assessment of the constitutional claims debatable or wrong.”
Slack v. McDaniel, 529 U.S. 473, 484 (2000). For the reasons set forth herein, reasonable jurists
would not find this Court’s assessment of the claim debatable or wrong. See United States v.
Colon, No. 05-563, 2024 U.S. Dist. LEXIS 160305, at *1-3 (E.D. Pa. Sep. 6, 2024) (finding no
basis to issue a COA because the holding in Stoney foreclosed the petitioner’s ability to argue
that a completed Hobbs Act robbery could not serve as a predicate crime of violence for a
conviction under § 924(c)).
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